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                         EXHIBIT C
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                                                                St. Onge Steward Johnston & Reens LLC

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    December 19, 2014


I   VIA EMAIL ONLY
    Sallentuch@npmlaw.com

    Simon I. Allentuch, Esq.
    Neubert, Pepe & Monteith, P.C.
    195 Church Street, 13th Floor
    New Haven, CT 06510


    Re:   SSJR File 01160-L0036A
          Bruce Kirby, Inc. v. Laser Performance, Inc. et al.

    Dear Simon:

    This is in response to the subpoena of Ms. Margo Kirby. You first provided us with a copy
    of the subpoena after 9:00 pm on December 17, 2014, and indicated that a marshal was
    in the process of effecting service on Ms. Kirby. The subpoena sought a deposition at
    10:00 am on December 19.

    This subpoena has no legitimate legal purpose and is only intended to harass Ms. Kirby, an
    elderly woman, and her husband Bruce Kirby. Ms. Kirby plans to ask the Court to quash
    the subpoena. Please confirm that you will provide Ms. Kirby with a reasonable period,
    until Monday, January 5, 2014, to timely file her request with the Court.

    As an alternative to a deposition, we would consider any good faith proposal by
    Defendants for an authentication of business records and/or verification of written answers
    to interrogatories.




                                             Walter B. Welsh
                                             wwelsh@ssjr.com

    c:    Counsel of Record
